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                    IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MINNESOTA

                                   CIVIL MOTION HEARING
Fair Isaac Corporation,                    )                   COURT MINUTES
                                           )             BEFORE: Wilhelmina M. Wright,
                      Plaintiff,           )                  U.S. District Judge
                                           )
 v.                                        )
                                                Case No:        16-cv-1054 (WMW/DTS)
                                           )
                                           )
                                                Date:           December 18, 2019
Federal Insurance Company, et al.,         )    Courthouse:     Saint Paul
                                           )    Courtroom:      7A
                      Defendants.          )    Deputy:         Mona Eckroad
                                           )    Court Reporter: Lori Simpson
                                           )    Time Commenced: 1:48 p.m.
                                           )    Time Concluded: 3:12 p.m.
                                           )    Time in Court:  1 Hour 24 Minutes

APPEARANCES:

Plaintiff:  Allen W. Hinderaker, Heather J. Kliebenstein, Michael A. Erbele, Joseph Dubis
Defendants: Christopher D. Pham, Christian V. Hokans, Leah C. Janus, Terrence J. Fleming, Ryan
            Young

HEARING ON:

Plaintiff Fair Isaac Corporation’s Motion to Exclude Expert Testimony of William McCarter [Dkt.
360]
Plaintiff Fair Isaac Corporation’s Motion to Exclude Expert Testimony of Dr. Steven Kursh [Dkt. 369]
Plaintiff Fair Isaac Corporation’s Motion to Exclude Expert Testimony of W. Christopher Bakewell
[Dkt. 419]
Defendants Federal Insurance Company & ACE American Insurance’s Motion to Exclude Expert
Testimony and Portions of Expert Report of R. Bickley Whitener [Dkt. 378]
Defendants Federal Insurance Company & ACE American Insurance’s Motion to Exclude Expert
Testimony and Expert Report of Brooks Hilliard [Dkt. 386]
Defendants Federal Insurance Company & ACE American Insurance’s Motion to Exclude Expert
Testimony and Expert Report of Neil J. Zoltowski [Dkt. 404]
Plaintiff Fair Isaac Corporation’s Motion for Summary Judgment [Dkt. 396]
Defendants Federal Insurance Company & ACE American Insurance’s Motion for Summary Judgment
[Dkt. 428]
Plaintiff Fair Isaac Corporation’s Motion to Strike [Dkt. 551]

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PROCEEDINGS:

The motions were argued and taken under advisement. Order to follow.
                                                                       s/Mona Eckroad
                                                                       Courtroom Deputy
